               Case 2:07-cr-00120-WBS Document 97 Filed 02/11/10 Page 1 of 2


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 4   Attorneys for
     JOSH LANE
 5
 6                             IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                   No. CR. S-07-120 EJG
                                         )
 9                      Plaintiff,       )
                                         )                   STIPULATION TO CONTINUE STATUS
10                                       )                   CONFERENCE AND EXCLUDE TIME
           v.                            )                   UNDER SPEEDY TRIAL ACT
11                                       )
     JOSH LANE, et al.,                  )
12                                       )
                        Defendants.      )
13   ____________________________________)
14           IT IS HEREBY STIPULATED AND AGREED between the defendant, Josh Lane, by and
15   through his defense counsel, Bruce Locke, and the United States of America by and through its
16   counsel, Assistant U.S. Attorney Heiko Coppola, that the status conference presently set for February
17   12, 2010 at 10:00 a.m., should be continued to April 16, 2010 at 10:00 a.m., and that time under the
18   Speedy Trial Act should be excluded from February 12, 2010 through April 16, 2010.
19           The reason for the continuance is that the co-defendants who have not yet been arraigned,
20   are all located in Canada and the Government is still attempting to procure their presence in this
21   case. Counsel for Mr. Lane is also continuing his investigation and preparation of the matter.
22   Accordingly, the time between February 12, 2010 and April 16, 2010 should be excluded from the
23   Speedy Trial calculation pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv) and
24   Local Code T-4 for defense preparation.       The parties stipulate that the ends of justice served by
25   granting this continuance outweigh the best interests of the public and the defendant in a speedy trial.
26   18 U.S.C. §3161(h)(7)(A). Mr. Coppola has authorized Mr. Locke to sign this pleading for him.
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             Case 2:07-cr-00120-WBS Document 97 Filed 02/11/10 Page 2 of 2


 1   DATED: February 9, 2010                  /S/ Bruce Locke
                                        BRUCE LOCKE
 2                                      Attorney for Josh Lane
 3
 4
     DATED: February 9, 2010               /S/ Bruce Locke
 5                                      For HEIKO COPPOLA
                                        Attorney for the United States
 6
 7
           IT IS SO ORDERED.
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 9
10   DATED: February 10, 2010           _/s/ Edward J. Garcia
                                        UNITED STATES DISTRICT JUDGE
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